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            EXHIBIT D
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In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST
Direct Purchaser Settlements
Recommended Approved Claimants with Payment Amount Sorted by Claim ID

                               Claim ID                   Proposed Distribution Amount
                     1        CRTA1-10000518                        $941.21
                     2        CRTA1-10004416                        $303.26
                     3        CRTA1-10005480                         $16.19
                     4        CRTA1-10010831                        $206.05
                     5        CRTA1-10011307                        $457.99
                     6        CRTA1-10011960                       $1,389.28
                     7        CRTA1-10012893                         $68.60
                     8        CRTA1-10014519                       $38,800.89
                     9        CRTA1-10016546                       $1,466.12
                     10       CRTA1-10017828                       $40,001.72
                     11       CRTA1-10017984                       $6,359.17
                     12       CRTA1-10018387                       $1,090.09
                     13       CRTA1-10021710                       $1,585.20
                     14       CRTA1-10023658                       $1,867.72
                     15       CRTA1-10025979                       $28,837.86
                     16       CRTA1-10026789                         $14.86
                     17       CRTA1-10030328                       $49,634.43
                     18       CRTA1-10034455                        $178.33
                     19       CRTA1-10036326                       $4,408.84
                     20       CRTA1-10036547                         $67.48
                     21       CRTA1-10038493                      $783,379.89
                     22       CRTA1-10038949                        $112.45
                     23       CRTA1-10043578                        $832.23
                     24       CRTA1-10046194                        $103.03
                     25       CRTA1-10049487                        $250.80
                     26       CRTA1-10050787                         $36.49
                     27       CRTA1-10051902                        $643.98
                     28       CRTA1-10056467                         $39.95
                     29       CRTA1-10056483                        $446.07
                     30       CRTA1-10062890                         $81.24
                     31       CRTA1-10063145                       $2,009.50
                     32       CRTA1-10064516                         $17.47
                     33       CRTA1-10065318                         $65.38
                     34       CRTA1-10066632                       $3,161.66
                     35       CRTA1-10066667                        $606.52
                     36       CRTA1-10073582                       $49,980.20
                     37       CRTA1-10075739                        $271.11
                     38       CRTA1-10076700                         $39.63
                     39       CRTA1-10076905                       $1,562.41
                     40       CRTA1-10076956                       $17,385.81
                                                                                                   P. 1 of 46
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In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST
Direct Purchaser Settlements
Recommended Approved Claimants with Payment Amount Sorted by Claim ID

                               Claim ID                   Proposed Distribution Amount
                     41       CRTA1-10077359                         $63.16
                     42       CRTA1-10080430                       $3,320.72
                     43       CRTA1-10081917                        $118.89
                     44       CRTA1-10083383                        $245.70
                     45       CRTA1-10084215                       $1,238.43
                     46       CRTA1-10084800                        $208.05
                     47       CRTA1-10087320                       $1,295.32
                     48       CRTA1-10087354                       $1,884.66
                     49       CRTA1-10087494                        $330.64
                     50       CRTA1-10087923                      $104,548.22
                     51       CRTA1-10088083                        $821.77
                     52       CRTA1-10095381                        $334.48
                     53       CRTA1-10096310                        $716.68
                     54       CRTA1-10097988                        $148.61
                     55       CRTA1-10098259                        $421.79
                     56       CRTA1-10098909                      $389,371.85
                     57       CRTA1-10099034                        $512.76
                     58       CRTA1-10099425                        $320.77
                     59       CRTA1-10101187                       $6,365.57
                     60       CRTA1-10101861                         $94.87
                     61       CRTA1-10103732                       $5,240.38
                     62       CRTA1-10107746                        $527.79
                     63       CRTA1-10108220                        $637.87
                     64       CRTA1-10108564                       $1,100.88
                     65       CRTA1-10108742                       $1,312.53
                     66       CRTA1-10109005                        $587.02
                     67       CRTA1-10110852                        $625.85
                     68       CRTA1-10112677                        $149.60
                     69       CRTA1-10113312                         $22.35
                     70       CRTA1-10114386                         $11.55
                     71       CRTA1-10115668                       $31,899.05
                     72       CRTA1-10115676                         $31.70
                     73       CRTA1-10119485                        $118.89
                     74       CRTA1-10121005                         $11.87
                     75       CRTA1-10125272                      $405,814.20
                     76       CRTA1-10126147                       $25,564.78
                     77       CRTA1-10126651                        $452.69
                     78       CRTA1-10126988                        $345.45
                     79       CRTA1-10130659                        $200.62
                     80       CRTA1-10135634                         $38.04
                                                                                                   P. 2 of 46
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Recommended Approved Claimants with Payment Amount Sorted by Claim ID

                               Claim ID                   Proposed Distribution Amount
                      81      CRTA1-10137890                        $594.45
                      82      CRTA1-10144994                        $121.06
                      83      CRTA1-10150218                        $641.68
                      84      CRTA1-10153284                        $660.83
                      85      CRTA1-10154744                        $166.44
                      86      CRTA1-10155767                        $782.69
                      87      CRTA1-10165487                      $478,968.76
                      88      CRTA1-10166220                       $1,665.79
                      89      CRTA1-10169407                       $1,262.21
                      90      CRTA1-10169431                         $10.00
                      91      CRTA1-10169679                        $247.68
                      92      CRTA1-10171630                         $62.80
                      93      CRTA1-10171673                      $325,498.62
                      94      CRTA1-40000001                         $10.77
                      95      CRTA1-40000010                         $23.64
                      96      CRTA1-40000028                         $34.67
                      97      CRTA1-40000036                         $12.87
                      98      CRTA1-40000044                         $10.00
                      99      CRTA1-40000060                         $68.22
                     100      CRTA1-40000079                         $10.00
                     101      CRTA1-40000087                       $27,515.09
                     102      CRTA1-40000095                        $690.01
                     103      CRTA1-40000109                         $14.86
                     104      CRTA1-40000133                         $29.62
                     105      CRTA1-40000141                         $24.75
                     106      CRTA1-40000168                         $29.72
                     107      CRTA1-40000176                         $54.98
                     108      CRTA1-40000184                         $10.00
                     109      CRTA1-40000192                         $18.77
                     110      CRTA1-40000206                         $68.53
                     111      CRTA1-40000214                         $10.00
                     112      CRTA1-40000230                         $10.35
                     113      CRTA1-40000257                         $12.87
                     114      CRTA1-40000265                         $10.00
                     115      CRTA1-40000273                         $10.00
                     116      CRTA1-40000290                         $15.10
                     117      CRTA1-40000303                         $16.84
                     118      CRTA1-40000320                         $10.00
                     119      CRTA1-40000346                        $594.45
                     120      CRTA1-40000354                        $107.51
                                                                                                   P. 3 of 46
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Recommended Approved Claimants with Payment Amount Sorted by Claim ID

                               Claim ID                   Proposed Distribution Amount
                     121      CRTA1-40000362                       $37,139.00
                     122      CRTA1-40000389                        $255.16
                     123      CRTA1-40000397                       $57,095.12
                     124      CRTA1-40000400                         $17.83
                     125      CRTA1-40000419                       $38,874.13
                     126      CRTA1-40000427                         $22.48
                     127      CRTA1-40000435                         $10.00
                     128      CRTA1-40000443                        $177.54
                     129      CRTA1-40000460                         $23.87
                     130      CRTA1-40000486                         $10.00
                     131      CRTA1-40000508                         $37.82
                     132      CRTA1-40000516                         $34.12
                     133      CRTA1-40000532                         $23.65
                     134      CRTA1-40000567                         $10.00
                     135      CRTA1-40000575                         $19.31
                     136      CRTA1-40000583                         $10.00
                     137      CRTA1-40000591                        $273.82
                     138      CRTA1-40000605                         $10.00
                     139      CRTA1-40000613                         $45.07
                     140      CRTA1-40000621                     $6,098,284.81
                     141      CRTA1-40000630                         $22.41
                     142      CRTA1-40000648                         $11.39
                     143      CRTA1-40000656                         $11.64
                     144      CRTA1-40000672                         $22.03
                     145      CRTA1-40000680                         $10.00
                     146      CRTA1-40000699                         $10.00
                     147      CRTA1-40000729                         $10.00
                     148      CRTA1-40000737                         $14.33
                     149      CRTA1-40000745                         $10.00
                     150      CRTA1-40000753                         $10.00
                     151      CRTA1-40000761                         $22.81
                     152      CRTA1-40000770                         $10.00
                     153      CRTA1-40000788                         $10.00
                     154      CRTA1-40000796                         $38.98
                     155      CRTA1-40000800                         $10.00
                     156      CRTA1-40000818                         $59.67
                     157      CRTA1-40000826                         $14.96
                     158      CRTA1-40000834                         $10.00
                     159      CRTA1-40000842                         $12.04
                     160      CRTA1-40000877                         $10.00
                                                                                                   P. 4 of 46
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Recommended Approved Claimants with Payment Amount Sorted by Claim ID

                               Claim ID                   Proposed Distribution Amount
                     161      CRTA1-40000893                         $10.00
                     162      CRTA1-40000915                         $30.83
                     163      CRTA1-40000923                         $10.00
                     164      CRTA1-40000931                         $13.07
                     165      CRTA1-40000958                         $10.00
                     166      CRTA1-40000966                         $10.00
                     167      CRTA1-40000974                         $10.00
                     168      CRTA1-40000982                         $10.00
                     169      CRTA1-40001024                         $10.00
                     170      CRTA1-40001032                         $10.89
                     171      CRTA1-40001040                         $25.26
                     172      CRTA1-40001059                         $11.39
                     173      CRTA1-40001067                         $10.00
                     174      CRTA1-40001075                         $24.76
                     175      CRTA1-40001091                         $10.00
                     176      CRTA1-40001113                         $10.00
                     177      CRTA1-40001130                         $29.72
                     178      CRTA1-40001148                         $97.66
                     179      CRTA1-40001156                         $10.00
                     180      CRTA1-40001172                         $32.31
                     181      CRTA1-40001180                         $13.87
                     182      CRTA1-40001199                         $10.00
                     183      CRTA1-40001202                        $138.70
                     184      CRTA1-40001210                        $519.13
                     185      CRTA1-40001237                         $10.00
                     186      CRTA1-40001245                         $26.07
                     187      CRTA1-40001253                         $10.00
                     188      CRTA1-40001270                         $39.63
                     189      CRTA1-40001288                      $312,506.68
                     190      CRTA1-40001296                         $10.00
                     191      CRTA1-40001318                         $20.99
                     192      CRTA1-40001334                         $12.63
                     193      CRTA1-40001342                        $676.18
                     194      CRTA1-40001350                         $19.81
                     195      CRTA1-40001369                         $79.01
                     196      CRTA1-40001377                         $11.88
                     197      CRTA1-40001393                         $27.74
                     198      CRTA1-40001407                         $23.97
                     199      CRTA1-40001423                         $41.61
                     200      CRTA1-40001431                         $12.03
                                                                                                   P. 5 of 46
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Recommended Approved Claimants with Payment Amount Sorted by Claim ID

                               Claim ID                   Proposed Distribution Amount
                     201      CRTA1-40001440                         $22.87
                     202      CRTA1-40001458                         $11.88
                     203      CRTA1-40001466                         $10.00
                     204      CRTA1-40001474                         $10.00
                     205      CRTA1-40001482                         $80.74
                     206      CRTA1-40001490                         $32.35
                     207      CRTA1-40001504                         $10.00
                     208      CRTA1-40001512                         $21.79
                     209      CRTA1-40001520                         $13.71
                     210      CRTA1-40001539                      $233,095.34
                     211      CRTA1-40001547                        $872.56
                     212      CRTA1-40001563                         $10.32
                     213      CRTA1-40001571                         $64.99
                     214      CRTA1-40001580                         $20.69
                     215      CRTA1-40001598                         $10.00
                     216      CRTA1-40001601                         $10.00
                     217      CRTA1-40001610                         $30.71
                     218      CRTA1-40001628                         $18.19
                     219      CRTA1-40001636                         $22.21
                     220      CRTA1-40001644                       $5,197.87
                     221      CRTA1-40001652                        $136.72
                     222      CRTA1-40001687                         $15.75
                     223      CRTA1-40001695                         $12.63
                     224      CRTA1-40001709                         $10.00
                     225      CRTA1-40001717                        $506.80
                     226      CRTA1-40001725                       $1,680.03
                     227      CRTA1-40001733                      $562,683.26
                     228      CRTA1-40001750                         $18.77
                     229      CRTA1-40001776                        $152.12
                     230      CRTA1-40001784                         $10.00
                     231      CRTA1-40001792                         $16.67
                     232      CRTA1-40001806                        $926.49
                     233      CRTA1-40001814                         $24.46
                     234      CRTA1-40001822                         $30.35
                     235      CRTA1-40001830                         $27.74
                     236      CRTA1-40001849                         $64.30
                     237      CRTA1-40001857                         $10.00
                     238      CRTA1-40001865                         $33.73
                     239      CRTA1-40001873                        $510.23
                     240      CRTA1-40001881                         $10.40
                                                                                                   P. 6 of 46
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In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST
Direct Purchaser Settlements
Recommended Approved Claimants with Payment Amount Sorted by Claim ID

                               Claim ID                   Proposed Distribution Amount
                     241      CRTA1-40001903                         $10.00
                     242      CRTA1-40001911                         $59.59
                     243      CRTA1-40001920                         $10.00
                     244      CRTA1-40001938                         $26.35
                     245      CRTA1-40001946                         $31.45
                     246      CRTA1-40001954                         $10.00
                     247      CRTA1-40001962                         $17.63
                     248      CRTA1-40001970                         $13.87
                     249      CRTA1-40001989                         $10.00
                     250      CRTA1-40001997                         $10.00
                     251      CRTA1-40002004                         $11.88
                     252      CRTA1-40002012                         $10.00
                     253      CRTA1-40002020                         $12.78
                     254      CRTA1-40002039                         $10.00
                     255      CRTA1-40002047                         $75.27
                     256      CRTA1-40002055                        $148.56
                     257      CRTA1-40002063                         $10.00
                     258      CRTA1-40002071                         $47.06
                     259      CRTA1-40002080                         $10.00
                     260      CRTA1-40002098                         $16.22
                     261      CRTA1-40002101                         $10.00
                     262      CRTA1-40002110                         $10.00
                     263      CRTA1-40002128                         $10.48
                     264      CRTA1-40002136                         $10.89
                     265      CRTA1-40002144                         $26.24
                     266      CRTA1-40002152                         $12.38
                     267      CRTA1-40002160                         $10.00
                     268      CRTA1-40002187                         $18.20
                     269      CRTA1-40002195                         $28.23
                     270      CRTA1-40002209                         $13.54
                     271      CRTA1-40002217                         $10.00
                     272      CRTA1-40002225                         $10.00
                     273      CRTA1-40002233                         $10.39
                     274      CRTA1-40002241                       $94,029.04
                     275      CRTA1-40002250                         $10.00
                     276      CRTA1-40002268                         $25.26
                     277      CRTA1-40002276                         $20.31
                     278      CRTA1-40002284                         $44.29
                     279      CRTA1-40002292                         $12.38
                     280      CRTA1-40002306                         $10.00
                                                                                                   P. 7 of 46
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In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST
Direct Purchaser Settlements
Recommended Approved Claimants with Payment Amount Sorted by Claim ID

                               Claim ID                   Proposed Distribution Amount
                     281      CRTA1-40002314                         $14.83
                     282      CRTA1-40002322                     $1,200,232.96
                     283      CRTA1-40002330                         $12.77
                     284      CRTA1-40002349                      $113,542.36
                     285      CRTA1-40002357                       $3,022.59
                     286      CRTA1-40002373                         $31.20
                     287      CRTA1-40002390                         $10.00
                     288      CRTA1-40002403                         $10.00
                     289      CRTA1-40002411                         $10.00
                     290      CRTA1-40002420                         $10.00
                     291      CRTA1-40002438                         $14.26
                     292      CRTA1-40002454                         $10.00
                     293      CRTA1-40002462                         $12.03
                     294      CRTA1-40002497                         $99.32
                     295      CRTA1-40002500                         $98.08
                     296      CRTA1-40002519                        $128.05
                     297      CRTA1-40002535                        $214.99
                     298      CRTA1-40002551                         $46.06
                     299      CRTA1-40002560                         $27.95
                     300      CRTA1-40002578                         $15.15
                     301      CRTA1-40002586                         $12.85
                     302      CRTA1-40002608                         $10.88
                     303      CRTA1-40002616                         $10.00
                     304      CRTA1-40002624                         $10.00
                     305      CRTA1-40002632                         $39.62
                     306      CRTA1-40002640                         $22.38
                     307      CRTA1-40002659                         $21.78
                     308      CRTA1-40002667                         $24.76
                     309      CRTA1-40002675                         $11.88
                     310      CRTA1-40002683                         $25.26
                     311      CRTA1-40002691                         $14.36
                     312      CRTA1-40002705                         $10.00
                     313      CRTA1-40002713                         $12.87
                     314      CRTA1-40002721                         $10.89
                     315      CRTA1-40002730                         $33.64
                     316      CRTA1-40002748                        $118.89
                     317      CRTA1-40002756                         $12.87
                     318      CRTA1-40002772                         $10.00
                     319      CRTA1-40002780                         $34.18
                     320      CRTA1-40002799                         $20.45
                                                                                                   P. 8 of 46
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Recommended Approved Claimants with Payment Amount Sorted by Claim ID

                               Claim ID                   Proposed Distribution Amount
                     321      CRTA1-40002802                         $10.00
                     322      CRTA1-40002810                         $20.30
                     323      CRTA1-40002829                         $17.58
                     324      CRTA1-40002853                         $10.00
                     325      CRTA1-40002861                         $46.56
                     326      CRTA1-40002870                         $15.85
                     327      CRTA1-40002900                         $10.00
                     328      CRTA1-40002918                         $10.00
                     329      CRTA1-40002926                         $28.73
                     330      CRTA1-40002934                         $24.76
                     331      CRTA1-40002942                         $12.62
                     332      CRTA1-40002950                         $10.00
                     333      CRTA1-40002969                         $79.25
                     334      CRTA1-40002985                         $10.00
                     335      CRTA1-40002993                         $10.42
                     336      CRTA1-40003000                         $23.48
                     337      CRTA1-40003035                         $23.61
                     338      CRTA1-40003078                         $18.17
                     339      CRTA1-40003175                         $10.00
                     340      CRTA1-40003183                         $10.00
                     341      CRTA1-40003191                         $21.79
                     342      CRTA1-40003205                         $10.00
                     343      CRTA1-40003213                         $18.08
                     344      CRTA1-40003221                         $17.43
                     345      CRTA1-40003230                         $14.86
                     346      CRTA1-40003248                         $27.72
                     347      CRTA1-40003256                         $12.37
                     348      CRTA1-40003264                         $37.62
                     349      CRTA1-40003272                         $60.43
                     350      CRTA1-40003280                         $10.00
                     351      CRTA1-40003299                         $21.11
                     352      CRTA1-40003302                         $10.00
                     353      CRTA1-40003337                         $10.00
                     354      CRTA1-40003388                         $10.00
                     355      CRTA1-40003396                         $83.46
                     356      CRTA1-40003400                         $36.31
                     357      CRTA1-40003418                         $10.00
                     358      CRTA1-40003426                         $10.00
                     359      CRTA1-40003434                         $52.50
                     360      CRTA1-40003442                         $23.77
                                                                                                   P. 9 of 46
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Recommended Approved Claimants with Payment Amount Sorted by Claim ID

                               Claim ID                   Proposed Distribution Amount
                     361      CRTA1-40003450                         $10.00
                     362      CRTA1-40003477                         $18.58
                     363      CRTA1-40003590                         $23.76
                     364      CRTA1-40003604                         $31.20
                     365      CRTA1-40003612                         $10.00
                     366      CRTA1-40003620                         $10.00
                     367      CRTA1-40003639                         $10.00
                     368      CRTA1-40003647                         $29.22
                     369      CRTA1-40003655                         $10.00
                     370      CRTA1-40003671                         $10.15
                     371      CRTA1-40003698                        $172.14
                     372      CRTA1-40003701                         $14.19
                     373      CRTA1-40003710                         $42.23
                     374      CRTA1-40003728                         $11.88
                     375      CRTA1-40003736                        $102.54
                     376      CRTA1-40003752                         $10.00
                     377      CRTA1-40003760                         $26.75
                     378      CRTA1-40003779                         $55.72
                     379      CRTA1-40003787                         $10.00
                     380      CRTA1-40003795                         $10.00
                     381      CRTA1-40003809                         $10.89
                     382      CRTA1-40003817                         $32.67
                     383      CRTA1-40003825                         $20.75
                     384      CRTA1-40003833                         $10.00
                     385      CRTA1-40003841                         $29.72
                     386      CRTA1-40003850                         $27.20
                     387      CRTA1-40003868                         $34.18
                     388      CRTA1-40004015                         $13.11
                     389      CRTA1-40004023                         $10.89
                     390      CRTA1-40004031                         $15.97
                     391      CRTA1-40004040                         $59.44
                     392      CRTA1-40004058                         $37.64
                     393      CRTA1-40004066                        $174.61
                     394      CRTA1-40004074                         $10.00
                     395      CRTA1-40004082                         $55.79
                     396      CRTA1-40004090                        $133.75
                     397      CRTA1-40004104                         $10.00
                     398      CRTA1-40004112                         $10.00
                     399      CRTA1-40004120                         $17.83
                     400      CRTA1-40004139                         $10.00
                                                                                                   P. 10 of 46
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In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST
Direct Purchaser Settlements
Recommended Approved Claimants with Payment Amount Sorted by Claim ID

                               Claim ID                   Proposed Distribution Amount
                     401      CRTA1-40004147                         $10.00
                     402      CRTA1-40004155                         $10.00
                     403      CRTA1-40004163                         $10.00
                     404      CRTA1-40004171                         $32.69
                     405      CRTA1-40004180                         $10.00
                     406      CRTA1-40004210                         $10.00
                     407      CRTA1-40004228                         $18.47
                     408      CRTA1-40004236                         $16.75
                     409      CRTA1-40004252                         $13.37
                     410      CRTA1-40004260                         $23.49
                     411      CRTA1-40004279                         $10.00
                     412      CRTA1-40004295                         $26.52
                     413      CRTA1-40004309                         $12.82
                     414      CRTA1-40004317                         $10.00
                     415      CRTA1-40004325                         $10.00
                     416      CRTA1-40004333                         $10.00
                     417      CRTA1-40004350                         $10.89
                     418      CRTA1-40004368                         $61.92
                     419      CRTA1-40004376                        $111.95
                     420      CRTA1-40004384                         $10.99
                     421      CRTA1-40004392                         $10.00
                     422      CRTA1-40004406                        $101.55
                     423      CRTA1-40004422                         $10.00
                     424      CRTA1-40004430                         $47.55
                     425      CRTA1-40004449                         $10.00
                     426      CRTA1-40004457                         $20.31
                     427      CRTA1-40004465                         $58.94
                     428      CRTA1-40004473                         $32.94
                     429      CRTA1-40004481                         $35.91
                     430      CRTA1-40004490                         $23.77
                     431      CRTA1-40004503                         $11.14
                     432      CRTA1-40004554                         $30.01
                     433      CRTA1-40004562                         $10.00
                     434      CRTA1-40004651                        $142.57
                     435      CRTA1-40004660                         $26.75
                     436      CRTA1-40004678                         $10.00
                     437      CRTA1-40004686                         $14.86
                     438      CRTA1-40004708                         $17.11
                     439      CRTA1-40004716                         $90.40
                     440      CRTA1-40004724                         $22.75
                                                                                                   P. 11 of 46
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Direct Purchaser Settlements
Recommended Approved Claimants with Payment Amount Sorted by Claim ID

                               Claim ID                   Proposed Distribution Amount
                     441      CRTA1-40004732                         $61.49
                     442      CRTA1-40004740                         $80.03
                     443      CRTA1-40004759                         $10.00
                     444      CRTA1-40004767                         $10.00
                     445      CRTA1-40004791                         $40.66
                     446      CRTA1-40004813                         $10.00
                     447      CRTA1-40004821                         $10.00
                     448      CRTA1-40004830                         $75.04
                     449      CRTA1-40004848                         $30.66
                     450      CRTA1-40004856                         $16.59
                     451      CRTA1-40004864                         $10.00
                     452      CRTA1-40004872                         $10.00
                     453      CRTA1-40004880                         $10.00
                     454      CRTA1-40004899                         $10.00
                     455      CRTA1-40004902                         $10.00
                     456      CRTA1-40004910                         $27.12
                     457      CRTA1-40004945                         $10.00
                     458      CRTA1-40004953                         $11.17
                     459      CRTA1-40004961                         $10.00
                     460      CRTA1-40004970                         $10.64
                     461      CRTA1-40004988                         $13.37
                     462      CRTA1-40004996                         $10.00
                     463      CRTA1-40005003                         $10.00
                     464      CRTA1-40005011                         $18.82
                     465      CRTA1-40005020                         $10.00
                     466      CRTA1-40005038                         $29.15
                     467      CRTA1-40005046                         $12.44
                     468      CRTA1-40005054                         $10.00
                     469      CRTA1-40005062                         $10.00
                     470      CRTA1-40005070                        $115.67
                     471      CRTA1-40005089                         $10.00
                     472      CRTA1-40005100                         $10.00
                     473      CRTA1-40005119                         $10.00
                     474      CRTA1-40005135                         $22.04
                     475      CRTA1-40005143                         $56.47
                     476      CRTA1-40005178                         $16.12
                     477      CRTA1-40005186                         $27.72
                     478      CRTA1-40005194                        $180.31
                     479      CRTA1-40005208                         $10.00
                     480      CRTA1-40005216                         $10.00
                                                                                                   P. 12 of 46
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Recommended Approved Claimants with Payment Amount Sorted by Claim ID

                               Claim ID                   Proposed Distribution Amount
                     481      CRTA1-40005240                         $10.00
                     482      CRTA1-40005259                         $53.99
                     483      CRTA1-40005267                         $23.28
                     484      CRTA1-40005275                         $26.25
                     485      CRTA1-40005283                         $10.00
                     486      CRTA1-40005291                         $23.53
                     487      CRTA1-40005305                         $44.58
                     488      CRTA1-40005313                         $10.00
                     489      CRTA1-40005321                         $13.59
                     490      CRTA1-40005330                         $10.00
                     491      CRTA1-40005348                         $18.87
                     492      CRTA1-40005356                         $43.46
                     493      CRTA1-40005364                         $24.76
                     494      CRTA1-40005372                        $173.38
                     495      CRTA1-40005380                         $10.00
                     496      CRTA1-40005399                        $135.73
                     497      CRTA1-40005402                         $10.00
                     498      CRTA1-40005410                         $17.83
                     499      CRTA1-40005429                         $26.67
                     500      CRTA1-40005437                         $31.20
                     501      CRTA1-40005445                         $10.00
                     502      CRTA1-40005453                         $10.00
                     503      CRTA1-40005461                         $11.24
                     504      CRTA1-40005470                         $25.75
                     505      CRTA1-40005488                         $28.97
                     506      CRTA1-40005496                         $10.00
                     507      CRTA1-40005500                         $14.66
                     508      CRTA1-40005518                         $23.03
                     509      CRTA1-40005526                         $23.48
                     510      CRTA1-40005534                         $10.00
                     511      CRTA1-40005542                         $38.71
                     512      CRTA1-40005550                         $17.83
                     513      CRTA1-40005577                         $12.87
                     514      CRTA1-40005585                         $10.00
                     515      CRTA1-40005593                         $14.52
                     516      CRTA1-40005607                         $39.63
                     517      CRTA1-40005615                         $21.79
                     518      CRTA1-40005623                         $24.76
                     519      CRTA1-40005631                         $24.76
                     520      CRTA1-40005640                        $132.41
                                                                                                   P. 13 of 46
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Recommended Approved Claimants with Payment Amount Sorted by Claim ID

                               Claim ID                   Proposed Distribution Amount
                     521      CRTA1-40005658                         $10.00
                     522      CRTA1-40005666                         $13.62
                     523      CRTA1-40005682                         $28.73
                     524      CRTA1-40005690                         $10.00
                     525      CRTA1-40005704                         $18.08
                     526      CRTA1-40005712                         $15.35
                     527      CRTA1-40005720                         $92.85
                     528      CRTA1-40005739                         $37.64
                     529      CRTA1-40005747                         $10.00
                     530      CRTA1-40005755                         $10.00
                     531      CRTA1-40005763                         $30.72
                     532      CRTA1-40005780                         $10.00
                     533      CRTA1-40005798                         $10.52
                     534      CRTA1-40005801                         $10.00
                     535      CRTA1-40005810                         $41.57
                     536      CRTA1-40005828                         $13.87
                     537      CRTA1-40005836                         $48.01
                     538      CRTA1-40005844                         $23.53
                     539      CRTA1-40005852                         $74.05
                     540      CRTA1-40005860                         $84.32
                     541      CRTA1-40005879                         $13.37
                     542      CRTA1-40005887                         $67.37
                     543      CRTA1-40005909                         $91.05
                     544      CRTA1-40005925                         $10.00
                     545      CRTA1-40005933                         $13.86
                     546      CRTA1-40005941                         $20.80
                     547      CRTA1-40005950                         $15.10
                     548      CRTA1-40005968                         $31.66
                     549      CRTA1-40005976                        $114.04
                     550      CRTA1-40005984                         $70.83
                     551      CRTA1-40005992                         $10.00
                     552      CRTA1-40006000                         $13.62
                     553      CRTA1-40006018                         $16.34
                     554      CRTA1-40006026                         $10.50
                     555      CRTA1-40006034                        $154.20
                     556      CRTA1-40006042                         $10.00
                     557      CRTA1-40006050                         $10.89
                     558      CRTA1-40006069                         $10.13
                     559      CRTA1-40006077                         $19.91
                     560      CRTA1-40006085                         $10.26
                                                                                                   P. 14 of 46
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Recommended Approved Claimants with Payment Amount Sorted by Claim ID

                               Claim ID                   Proposed Distribution Amount
                     561      CRTA1-40006093                         $26.99
                     562      CRTA1-40006107                         $13.25
                     563      CRTA1-40006115                         $10.00
                     564      CRTA1-40006123                         $19.81
                     565      CRTA1-40006131                         $10.00
                     566      CRTA1-40006140                         $39.63
                     567      CRTA1-40006158                         $17.33
                     568      CRTA1-40006166                         $10.00
                     569      CRTA1-40006174                         $31.63
                     570      CRTA1-40006182                         $10.00
                     571      CRTA1-40006204                         $28.23
                     572      CRTA1-40006212                         $10.00
                     573      CRTA1-40006220                         $10.00
                     574      CRTA1-40006239                         $16.82
                     575      CRTA1-40006247                         $23.08
                     576      CRTA1-40006255                         $35.66
                     577      CRTA1-40006263                         $10.00
                     578      CRTA1-40006271                         $10.00
                     579      CRTA1-40006280                         $74.30
                     580      CRTA1-40006298                         $10.00
                     581      CRTA1-40006301                         $24.59
                     582      CRTA1-40006310                         $10.00
                     583      CRTA1-40006328                         $40.35
                     584      CRTA1-40006336                         $10.00
                     585      CRTA1-40006344                         $56.47
                     586      CRTA1-40006352                       $25,515.26
                     587      CRTA1-40006360                         $32.65
                     588      CRTA1-40006379                         $13.12
                     589      CRTA1-40006387                         $10.00
                     590      CRTA1-40006395                         $64.89
                     591      CRTA1-40006409                         $31.79
                     592      CRTA1-40006417                         $84.21
                     593      CRTA1-40006425                        $100.06
                     594      CRTA1-40006433                         $26.75
                     595      CRTA1-40006441                         $16.53
                     596      CRTA1-40006450                         $29.68
                     597      CRTA1-40006468                         $68.11
                     598      CRTA1-40006476                         $32.69
                     599      CRTA1-40006484                         $33.70
                     600      CRTA1-40006492                         $19.81
                                                                                                   P. 15 of 46
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Recommended Approved Claimants with Payment Amount Sorted by Claim ID

                               Claim ID                   Proposed Distribution Amount
                     601      CRTA1-40006506                         $10.00
                     602      CRTA1-40006514                         $44.55
                     603      CRTA1-40006522                         $16.70
                     604      CRTA1-40006530                        $133.75
                     605      CRTA1-40006549                         $10.00
                     606      CRTA1-40006557                         $18.24
                     607      CRTA1-40006565                         $28.37
                     608      CRTA1-40006573                         $10.00
                     609      CRTA1-40006590                         $10.00
                     610      CRTA1-40006603                         $93.62
                     611      CRTA1-40006611                         $42.68
                     612      CRTA1-40006620                         $16.09
                     613      CRTA1-40006638                         $17.91
                     614      CRTA1-40006646                         $14.86
                     615      CRTA1-40006654                         $14.86
                     616      CRTA1-40006662                         $19.31
                     617      CRTA1-40006670                         $10.00
                     618      CRTA1-40006689                         $10.00
                     619      CRTA1-40006697                         $19.78
                     620      CRTA1-40006700                         $18.82
                     621      CRTA1-40006719                        $680.55
                     622      CRTA1-40006778                         $25.69
                     623      CRTA1-40006859                         $17.83
                     624      CRTA1-40006867                         $55.60
                     625      CRTA1-40006875                         $15.74
                     626      CRTA1-40006883                         $34.02
                     627      CRTA1-40006905                         $13.61
                     628      CRTA1-40006913                         $28.19
                     629      CRTA1-40006921                         $17.18
                     630      CRTA1-40006930                         $11.59
                     631      CRTA1-40006948                         $29.72
                     632      CRTA1-40006964                         $19.81
                     633      CRTA1-40006972                         $10.00
                     634      CRTA1-40006980                         $12.85
                     635      CRTA1-40006999                         $10.00
                     636      CRTA1-40007006                         $10.00
                     637      CRTA1-40007014                         $75.77
                     638      CRTA1-40007022                         $86.19
                     639      CRTA1-40007030                         $10.00
                     640      CRTA1-40007049                         $10.00
                                                                                                   P. 16 of 46
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                               Claim ID                   Proposed Distribution Amount
                     641      CRTA1-40007057                         $21.05
                     642      CRTA1-40007065                         $10.00
                     643      CRTA1-40007073                         $12.35
                     644      CRTA1-40007081                         $46.06
                     645      CRTA1-40007090                         $15.65
                     646      CRTA1-40007154                         $10.00
                     647      CRTA1-40007162                         $11.39
                     648      CRTA1-40007170                         $14.41
                     649      CRTA1-40007189                         $20.74
                     650      CRTA1-40007197                         $10.00
                     651      CRTA1-40007200                         $15.85
                     652      CRTA1-40007219                         $10.00
                     653      CRTA1-40007227                         $22.56
                     654      CRTA1-40007235                         $10.00
                     655      CRTA1-40007243                         $24.24
                     656      CRTA1-40007251                         $11.87
                     657      CRTA1-40007260                         $10.00
                     658      CRTA1-40007278                         $31.43
                     659      CRTA1-40007286                         $13.03
                     660      CRTA1-40007294                         $15.23
                     661      CRTA1-40007308                         $13.87
                     662      CRTA1-40007316                         $14.34
                     663      CRTA1-40007324                         $11.86
                     664      CRTA1-40007332                         $66.38
                     665      CRTA1-40007340                         $27.74
                     666      CRTA1-40007359                         $21.79
                     667      CRTA1-40007367                         $10.00
                     668      CRTA1-40007375                         $27.49
                     669      CRTA1-40007383                         $10.00
                     670      CRTA1-40007391                        $122.35
                     671      CRTA1-40007405                         $10.00
                     672      CRTA1-40007413                         $23.03
                     673      CRTA1-40007421                         $31.07
                     674      CRTA1-40007430                         $85.79
                     675      CRTA1-40007448                         $14.86
                     676      CRTA1-40007456                         $10.00
                     677      CRTA1-40007464                         $37.64
                     678      CRTA1-40007472                         $27.44
                     679      CRTA1-40007480                         $51.02
                     680      CRTA1-40007502                         $10.00
                                                                                                   P. 17 of 46
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                               Claim ID                   Proposed Distribution Amount
                     681      CRTA1-40007510                         $10.00
                     682      CRTA1-40007529                         $10.00
                     683      CRTA1-40007537                         $10.00
                     684      CRTA1-40007545                         $13.74
                     685      CRTA1-40007553                         $10.77
                     686      CRTA1-40007561                         $12.58
                     687      CRTA1-40007570                         $33.19
                     688      CRTA1-40007588                         $17.73
                     689      CRTA1-40007596                         $30.34
                     690      CRTA1-40007618                         $10.00
                     691      CRTA1-40007626                         $41.90
                     692      CRTA1-40007634                         $10.65
                     693      CRTA1-40007642                         $11.88
                     694      CRTA1-40007650                         $10.00
                     695      CRTA1-40007669                         $10.00
                     696      CRTA1-40007677                         $19.12
                     697      CRTA1-40007685                         $40.62
                     698      CRTA1-40007693                         $27.24
                     699      CRTA1-40007707                         $18.82
                     700      CRTA1-40007715                         $10.00
                     701      CRTA1-40007723                         $11.88
                     702      CRTA1-40007731                         $10.00
                     703      CRTA1-40007740                         $18.81
                     704      CRTA1-40007782                         $27.98
                     705      CRTA1-40007790                         $63.40
                     706      CRTA1-40007804                         $10.00
                     707      CRTA1-40007812                         $21.30
                     708      CRTA1-40007820                        $126.81
                     709      CRTA1-40007839                         $10.00
                     710      CRTA1-40007847                         $10.00
                     711      CRTA1-40007855                         $10.00
                     712      CRTA1-40007863                         $14.61
                     713      CRTA1-40007871                         $23.03
                     714      CRTA1-40007880                        $205.30
                     715      CRTA1-40007898                         $10.00
                     716      CRTA1-40007928                         $33.94
                     717      CRTA1-40007936                         $11.39
                     718      CRTA1-40007944                         $69.35
                     719      CRTA1-40007952                         $74.30
                     720      CRTA1-40007960                        $118.89
                                                                                                   P. 18 of 46
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                               Claim ID                   Proposed Distribution Amount
                     721      CRTA1-40007979                         $46.06
                     722      CRTA1-40007987                         $10.00
                     723      CRTA1-40007995                         $14.86
                     724      CRTA1-40008002                         $21.00
                     725      CRTA1-40008010                         $10.00
                     726      CRTA1-40008029                         $11.88
                     727      CRTA1-40008037                         $10.65
                     728      CRTA1-40008045                         $37.27
                     729      CRTA1-40008061                        $465.75
                     730      CRTA1-40008070                         $15.42
                     731      CRTA1-40008088                         $43.09
                     732      CRTA1-40008096                         $17.83
                     733      CRTA1-40008100                         $72.32
                     734      CRTA1-40008118                         $55.48
                     735      CRTA1-40008126                         $63.40
                     736      CRTA1-40008134                         $10.00
                     737      CRTA1-40008142                        $111.45
                     738      CRTA1-40008150                        $311.76
                     739      CRTA1-40008169                         $10.00
                     740      CRTA1-40008177                         $17.83
                     741      CRTA1-40008185                      $221,780.96
                     742      CRTA1-40008193                         $22.29
                     743      CRTA1-40008207                         $12.38
                     744      CRTA1-40008215                         $19.81
                     745      CRTA1-40008223                        $292.76
                     746      CRTA1-40008231                         $10.00
                     747      CRTA1-40008240                         $10.00
                     748      CRTA1-40008258                         $10.00
                     749      CRTA1-40008266                         $10.00
                     750      CRTA1-40008274                         $18.32
                     751      CRTA1-40008304                       $9,552.70
                     752      CRTA1-40008312                         $10.00
                     753      CRTA1-40008320                         $10.00
                     754      CRTA1-40008339                         $21.54
                     755      CRTA1-40008347                         $53.25
                     756      CRTA1-40008355                         $10.00
                     757      CRTA1-40008363                         $60.43
                     758      CRTA1-40008371                         $10.00
                     759      CRTA1-40008436                         $17.83
                     760      CRTA1-40008444                         $10.15
                                                                                                   P. 19 of 46
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                               Claim ID                   Proposed Distribution Amount
                     761      CRTA1-40008452                         $24.76
                     762      CRTA1-40008487                         $10.00
                     763      CRTA1-40008495                         $16.84
                     764      CRTA1-40008509                         $11.28
                     765      CRTA1-40008517                         $96.15
                     766      CRTA1-40008525                         $19.81
                     767      CRTA1-40008533                         $10.00
                     768      CRTA1-40008541                         $10.00
                     769      CRTA1-40008550                         $10.00
                     770      CRTA1-40008576                         $14.86
                     771      CRTA1-40008584                         $10.00
                     772      CRTA1-40008592                         $10.00
                     773      CRTA1-40008606                         $17.79
                     774      CRTA1-40008614                        $110.17
                     775      CRTA1-40008622                         $98.08
                     776      CRTA1-40008630                         $97.05
                     777      CRTA1-40008649                         $19.81
                     778      CRTA1-40008665                       $13,870.52
                     779      CRTA1-40008673                         $44.45
                     780      CRTA1-40008681                        $127.55
                     781      CRTA1-40008690                         $24.76
                     782      CRTA1-40008703                         $20.09
                     783      CRTA1-40008711                         $10.00
                     784      CRTA1-40008720                         $14.86
                     785      CRTA1-40008738                         $25.14
                     786      CRTA1-40008746                         $21.79
                     787      CRTA1-40008754                         $10.00
                     788      CRTA1-40008762                         $10.89
                     789      CRTA1-40008770                     $1,315,901.77
                     790      CRTA1-40008789                         $49.53
                     791      CRTA1-40008797                         $29.12
                     792      CRTA1-40008800                         $26.70
                     793      CRTA1-40008819                         $10.00
                     794      CRTA1-40008827                        $334.49
                     795      CRTA1-40008835                         $20.41
                     796      CRTA1-40008843                         $10.00
                     797      CRTA1-40008851                         $26.75
                     798      CRTA1-40008878                         $17.83
                     799      CRTA1-40008886                         $10.00
                     800      CRTA1-40008908                         $10.00
                                                                                                   P. 20 of 46
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Recommended Approved Claimants with Payment Amount Sorted by Claim ID

                               Claim ID                   Proposed Distribution Amount
                     801      CRTA1-40008916                         $18.08
                     802      CRTA1-40008924                         $10.00
                     803      CRTA1-40008932                         $10.00
                     804      CRTA1-40008940                         $34.67
                     805      CRTA1-40008959                         $10.00
                     806      CRTA1-40008967                         $27.24
                     807      CRTA1-40008975                         $36.41
                     808      CRTA1-40008983                         $19.81
                     809      CRTA1-40008991                         $17.83
                     810      CRTA1-40009009                         $10.00
                     811      CRTA1-40009017                         $14.32
                     812      CRTA1-40009025                         $10.00
                     813      CRTA1-40009033                        $112.46
                     814      CRTA1-40009041                         $17.83
                     815      CRTA1-40009076                         $43.19
                     816      CRTA1-40009084                         $97.73
                     817      CRTA1-40009092                         $50.19
                     818      CRTA1-40009106                         $11.87
                     819      CRTA1-40009114                         $12.87
                     820      CRTA1-40009122                         $47.55
                     821      CRTA1-40009130                         $10.00
                     822      CRTA1-40009149                         $10.00
                     823      CRTA1-40009157                         $10.00
                     824      CRTA1-40009165                         $10.00
                     825      CRTA1-40009173                         $22.04
                     826      CRTA1-40009181                         $14.68
                     827      CRTA1-40009190                         $10.00
                     828      CRTA1-40009211                         $11.88
                     829      CRTA1-40009220                         $12.63
                     830      CRTA1-40009238                         $11.39
                     831      CRTA1-40009246                         $13.87
                     832      CRTA1-40009254                         $14.11
                     833      CRTA1-40009262                         $14.86
                     834      CRTA1-40009297                         $10.00
                     835      CRTA1-40009300                         $10.40
                     836      CRTA1-40009319                         $10.00
                     837      CRTA1-40009327                         $39.63
                     838      CRTA1-40009335                         $44.58
                     839      CRTA1-40009343                         $10.00
                     840      CRTA1-40009351                         $13.87
                                                                                                   P. 21 of 46
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                               Claim ID                   Proposed Distribution Amount
                     841      CRTA1-40009360                         $52.05
                     842      CRTA1-40009386                         $12.86
                     843      CRTA1-40009394                         $10.00
                     844      CRTA1-40009408                         $34.92
                     845      CRTA1-40009416                         $12.87
                     846      CRTA1-40009424                         $11.88
                     847      CRTA1-40009432                         $10.00
                     848      CRTA1-40009440                         $10.00
                     849      CRTA1-40009459                         $13.62
                     850      CRTA1-40009467                         $17.33
                     851      CRTA1-40009475                         $17.29
                     852      CRTA1-40009483                         $10.00
                     853      CRTA1-40009491                         $10.00
                     854      CRTA1-40009505                         $17.83
                     855      CRTA1-40009513                         $10.00
                     856      CRTA1-40009521                       $1,223.29
                     857      CRTA1-40009530                       $1,092.30
                     858      CRTA1-40009548                         $10.00
                     859      CRTA1-40009556                      $239,784.06
                     860      CRTA1-40009564                        $116.90
                     861      CRTA1-40009572                       $2,993.32
                     862      CRTA1-40009580                         $14.36
                     863      CRTA1-40009599                        $385.30
                     864      CRTA1-40009602                       $26,391.85
                     865      CRTA1-40009610                         $10.00
                     866      CRTA1-40009629                         $17.14
                     867      CRTA1-40009637                         $17.33
                     868      CRTA1-40009645                         $33.15
                     869      CRTA1-40009653                         $28.45
                     870      CRTA1-40009661                        $128.15
                     871      CRTA1-40009670                        $327.93
                     872      CRTA1-40009688                         $48.34
                     873      CRTA1-40009700                         $13.37
                     874      CRTA1-40009718                         $69.10
                     875      CRTA1-40009726                         $38.63
                     876      CRTA1-40009734                         $15.25
                     877      CRTA1-40009742                       $8,657.70
                     878      CRTA1-40009769                         $84.21
                     879      CRTA1-40009777                         $11.14
                     880      CRTA1-40009785                        $116.66
                                                                                                   P. 22 of 46
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Recommended Approved Claimants with Payment Amount Sorted by Claim ID

                               Claim ID                   Proposed Distribution Amount
                     881      CRTA1-40009793                        $125.03
                     882      CRTA1-40009807                         $29.72
                     883      CRTA1-40009815                         $10.00
                     884      CRTA1-40009823                         $10.00
                     885      CRTA1-40009831                         $14.42
                     886      CRTA1-40009840                         $13.82
                     887      CRTA1-40009858                         $68.85
                     888      CRTA1-40009866                         $10.00
                     889      CRTA1-40009874                         $39.81
                     890      CRTA1-40009890                         $10.00
                     891      CRTA1-40009904                       $1,236.07
                     892      CRTA1-40009912                         $10.15
                     893      CRTA1-40009920                         $10.00
                     894      CRTA1-40009939                         $29.02
                     895      CRTA1-40009947                         $10.00
                     896      CRTA1-40009955                         $10.00
                     897      CRTA1-40009963                         $10.00
                     898      CRTA1-40009980                         $10.00
                     899      CRTA1-40009998                         $10.00
                     900      CRTA1-40010031                         $79.16
                     901      CRTA1-40010040                     $3,247,419.43
                     902      CRTA1-40010058                         $10.00
                     903      CRTA1-40010066                         $40.32
                     904      CRTA1-40010074                         $25.01
                     905      CRTA1-40010082                         $10.00
                     906      CRTA1-40010090                         $10.00
                     907      CRTA1-40010104                         $10.00
                     908      CRTA1-40010112                        $100.09
                     909      CRTA1-40010120                         $19.81
                     910      CRTA1-40010139                       $60,406.87
                     911      CRTA1-40010147                         $29.82
                     912      CRTA1-40010155                         $26.41
                     913      CRTA1-40010171                         $19.81
                     914      CRTA1-40010180                         $51.45
                     915      CRTA1-40010198                         $19.81
                     916      CRTA1-40010201                         $36.20
                     917      CRTA1-40010244                         $25.36
                     918      CRTA1-40010252                        $126.02
                     919      CRTA1-40010260                        $155.05
                     920      CRTA1-40010279                         $29.72
                                                                                                   P. 23 of 46
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                               Claim ID                   Proposed Distribution Amount
                     921      CRTA1-40010287                        $140.49
                     922      CRTA1-40010317                        $450.04
                     923      CRTA1-40010325                        $350.72
                     924      CRTA1-40010333                         $10.00
                     925      CRTA1-40010341                       $3,622.33
                     926      CRTA1-40010350                        $284.93
                     927      CRTA1-40010368                        $271.88
                     928      CRTA1-40010376                         $26.96
                     929      CRTA1-40010406                         $29.72
                     930      CRTA1-40010414                         $55.48
                     931      CRTA1-40010422                         $10.00
                     932      CRTA1-40010430                        $356.91
                     933      CRTA1-40010449                         $18.58
                     934      CRTA1-40010457                         $24.76
                     935      CRTA1-40010465                        $289.14
                     936      CRTA1-40010473                        $318.40
                     937      CRTA1-40010481                         $28.43
                     938      CRTA1-40010490                         $10.00
                     939      CRTA1-40010503                         $10.00
                     940      CRTA1-40010511                         $44.84
                     941      CRTA1-40010520                         $39.04
                     942      CRTA1-40010538                         $10.00
                     943      CRTA1-40010546                         $10.00
                     944      CRTA1-40010554                         $24.27
                     945      CRTA1-40010562                         $12.87
                     946      CRTA1-40010589                         $10.00
                     947      CRTA1-40010597                        $107.00
                     948      CRTA1-40010600                         $31.70
                     949      CRTA1-40010643                         $11.88
                     950      CRTA1-40010651                       $66,168.24
                     951      CRTA1-40010660                         $42.10
                     952      CRTA1-40010678                         $66.92
                     953      CRTA1-40010686                         $51.02
                     954      CRTA1-40010694                         $20.55
                     955      CRTA1-40010708                         $10.00
                     956      CRTA1-40010716                         $33.93
                     957      CRTA1-40010732                      $201,101.49
                     958      CRTA1-40010740                       $4,067.82
                     959      CRTA1-40010759                         $13.12
                     960      CRTA1-40010767                         $28.01
                                                                                                   P. 24 of 46
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                               Claim ID                   Proposed Distribution Amount
                    961       CRTA1-40010775                         $13.87
                    962       CRTA1-40010783                         $14.86
                    963       CRTA1-40010791                        $114.85
                    964       CRTA1-40010805                      $153,819.44
                    965       CRTA1-40010813                       $17,166.61
                    966       CRTA1-40010830                      $498,467.59
                    967       CRTA1-40010848                       $5,825.37
                    968       CRTA1-40010856                         $21.10
                    969       CRTA1-40010864                       $4,535.81
                    970       CRTA1-40010872                         $10.00
                    971       CRTA1-40010880                         $67.86
                    972       CRTA1-40010902                         $50.02
                    973       CRTA1-40010910                         $13.37
                    974       CRTA1-40010937                         $24.71
                    975       CRTA1-40010945                        $215.71
                    976       CRTA1-40010953                         $10.00
                    977       CRTA1-40010970                        $471.96
                    978       CRTA1-40010996                       $14,260.34
                    979       CRTA1-40011003                       $1,952.62
                    980       CRTA1-40011011                       $53,449.13
                    981       CRTA1-40011038                         $10.00
                    982       CRTA1-40011054                         $33.43
                    983       CRTA1-40011062                       $52,523.24
                    984       CRTA1-40011070                         $20.80
                    985       CRTA1-40011089                         $11.36
                    986       CRTA1-40011097                      $396,300.69
                    987       CRTA1-40011100                        $232.33
                    988       CRTA1-40011119                         $18.94
                    989       CRTA1-40011127                         $16.34
                    990       CRTA1-40011135                         $11.88
                    991       CRTA1-40011143                         $10.40
                    992       CRTA1-40011151                         $22.78
                    993       CRTA1-40011160                         $21.30
                    994       CRTA1-40011178                         $13.87
                    995       CRTA1-40011186                        $287.31
                    996       CRTA1-40011194                       $1,772.91
                    997       CRTA1-40011208                        $398.28
                    998       CRTA1-40011216                         $40.62
                    999       CRTA1-40011224                       $5,164.77
                    1000      CRTA1-40011232                        $389.59
                                                                                                   P. 25 of 46
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                               Claim ID                   Proposed Distribution Amount
                    1001      CRTA1-40011259                        $428.04
                    1002      CRTA1-40011275                         $34.67
                    1003      CRTA1-40011291                        $107.99
                    1004      CRTA1-40011305                      $343,154.62
                    1005      CRTA1-40011313                         $10.00
                    1006      CRTA1-40011321                         $10.00
                    1007      CRTA1-40011348                         $10.00
                    1008      CRTA1-40011364                         $38.69
                    1009      CRTA1-40011429                      $971,006.42
                    1010      CRTA1-40011453                         $11.88
                    1011      CRTA1-40011461                        $444.72
                    1012      CRTA1-40011470                         $10.00
                    1013      CRTA1-40011496                         $31.00
                    1014      CRTA1-40011577                         $73.22
                    1015      CRTA1-40011593                       $1,175.22
                    1016      CRTA1-40011607                         $12.15
                    1017      CRTA1-40011615                         $53.00
                    1018      CRTA1-40011623                         $56.76
                    1019      CRTA1-40011631                         $10.00
                    1020      CRTA1-40011640                         $10.40
                    1021      CRTA1-40011658                         $25.26
                    1022      CRTA1-40011666                       $1,175.00
                    1023      CRTA1-40011674                         $10.00
                    1024      CRTA1-40011682                         $10.00
                    1025      CRTA1-40011704                         $10.00
                    1026      CRTA1-40011712                         $11.88
                    1027      CRTA1-40011720                         $10.00
                    1028      CRTA1-40011739                         $10.00
                    1029      CRTA1-40011747                         $10.00
                    1030      CRTA1-40011801                        $313.07
                    1031      CRTA1-40011810                       $7,496.37
                    1032      CRTA1-40011828                         $10.00
                    1033      CRTA1-40011836                        $338.14
                    1034      CRTA1-40011844                       $12,809.33
                    1035      CRTA1-40011860                         $10.00
                    1036      CRTA1-40011879                       $2,545.41
                    1037      CRTA1-40011887                        $103.43
                    1038      CRTA1-40011895                        $952.96
                    1039      CRTA1-40011909                         $66.87
                    1040      CRTA1-40011917                         $10.00
                                                                                                   P. 26 of 46
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                               Claim ID                   Proposed Distribution Amount
                    1041      CRTA1-40011925                      $895,454.30
                    1042      CRTA1-40011933                     $16,840,421.47
                    1043      CRTA1-40011941                       $6,935.26
                    1044      CRTA1-40011950                        $178.33
                    1045      CRTA1-40011968                         $31.80
                    1046      CRTA1-40011984                        $146.36
                    1047      CRTA1-40011992                        $168.42
                    1048      CRTA1-40012026                         $17.44
                    1049      CRTA1-40012034                       $12,879.77
                    1050      CRTA1-40012042                      $215,809.00
                    1051      CRTA1-40012069                       $9,415.10
                    1052      CRTA1-40012077                       $50,546.40
                    1053      CRTA1-40012093                         $16.34
                    1054      CRTA1-40012107                         $10.00
                    1055      CRTA1-40012115                         $25.16
                    1056      CRTA1-40012123                         $21.79
                    1057      CRTA1-40012131                         $27.74
                    1058      CRTA1-40012140                         $27.49
                    1059      CRTA1-40012158                         $44.58
                    1060      CRTA1-40012166                         $75.04
                    1061      CRTA1-40012174                         $53.00
                    1062      CRTA1-40012182                        $399.82
                    1063      CRTA1-40012190                       $19,815.03
                    1064      CRTA1-40012204                      $663,845.48
                    1065      CRTA1-40012212                         $59.44
                    1066      CRTA1-40012220                        $778.85
                    1067      CRTA1-40012247                       $1,116.89
                    1068      CRTA1-40012255                      $361,159.30
                    1069      CRTA1-40012263                      $317,928.86
                    1070      CRTA1-40012271                         $16.91
                    1071      CRTA1-40012280                         $25.11
                    1072      CRTA1-40012298                      $444,515.82
                    1073      CRTA1-40012301                       $16,919.53
                    1074      CRTA1-40012310                        $184.83
                    1075      CRTA1-40012336                        $665.70
                    1076      CRTA1-40012344                      $235,476.92
                    1077      CRTA1-40012360                       $7,030.15
                    1078      CRTA1-40012387                       $20,178.56
                    1079      CRTA1-40012395                      $199,891.91
                    1080      CRTA1-40012409                        $912.51
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                               Claim ID                   Proposed Distribution Amount
                    1081      CRTA1-40012433                       $3,019.12
                    1082      CRTA1-40012441                         $25.11
                    1083      CRTA1-40012468                        $883.05
                    1084      CRTA1-40012476                         $10.00
                    1085      CRTA1-40012492                       $1,033.13
                    1086      CRTA1-40012514                         $13.44
                    1087      CRTA1-40012522                         $11.78
                    1088      CRTA1-40012530                       $1,880.00
                    1089      CRTA1-40012549                         $32.33
                    1090      CRTA1-40012557                       $1,164.41
                    1091      CRTA1-40012565                        $761.96
                    1092      CRTA1-40012573                         $14.33
                    1093      CRTA1-40012581                       $1,085.37
                    1094      CRTA1-40012590                        $282.24
                    1095      CRTA1-40012603                       $1,338.21
                    1096      CRTA1-40012611                         $21.59
                    1097      CRTA1-40012620                         $38.44
                    1098      CRTA1-40012638                       $34,679.72
                    1099      CRTA1-40012646                        $437.92
                    1100      CRTA1-40012654                        $401.80
                    1101      CRTA1-40012662                        $610.99
                    1102      CRTA1-40012670                        $612.02
                    1103      CRTA1-40012689                        $323.68
                    1104      CRTA1-40012697                        $538.27
                    1105      CRTA1-40012700                        $741.50
                    1106      CRTA1-40012719                         $22.31
                    1107      CRTA1-40012727                        $386.86
                    1108      CRTA1-40012735                        $408.55
                    1109      CRTA1-40012743                         $14.63
                    1110      CRTA1-40012751                        $304.71
                    1111      CRTA1-40012760                        $328.16
                    1112      CRTA1-40012778                         $71.92
                    1113      CRTA1-40012786                         $10.00
                    1114      CRTA1-40012794                      $162,640.93
                    1115      CRTA1-40012808                         $65.25
                    1116      CRTA1-40012816                        $334.26
                    1117      CRTA1-40012824                         $16.34
                    1118      CRTA1-40012832                        $196.84
                    1119      CRTA1-40012840                         $50.20
                    1120      CRTA1-40012859                        $561.62
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                               Claim ID                   Proposed Distribution Amount
                    1121      CRTA1-40012867                         $33.61
                    1122      CRTA1-40012875                         $55.52
                    1123      CRTA1-40012891                      $381,141.66
                    1124      CRTA1-40012905                         $10.89
                    1125      CRTA1-40012913                        $591.02
                    1126      CRTA1-40012921                         $12.21
                    1127      CRTA1-40012930                         $11.73
                    1128      CRTA1-40012948                      $594,946.42
                    1129      CRTA1-40012956                     $3,566,706.28
                    1130      CRTA1-40012972                      $471,695.23
                    1131      CRTA1-40012980                         $24.86
                    1132      CRTA1-40012999                         $17.13
                    1133      CRTA1-40013014                      $223,066.54
                    1134      CRTA1-40013022                       $17,961.65
                    1135      CRTA1-40013030                       $15,406.18
                    1136      CRTA1-40013057                        $791.39
                    1137      CRTA1-40013065                        $719.38
                    1138      CRTA1-40013081                       $14,124.47
                    1139      CRTA1-40013103                     $2,972,255.23
                    1140      CRTA1-40013111                      $148,612.76
                    1141      CRTA1-40013120                     $4,185,553.55
                    1142      CRTA1-40013138                     $3,311,588.60
                    1143      CRTA1-40013154                         $16.34
                    1144      CRTA1-40013189                     $1,455,066.69
                    1145      CRTA1-40013197                         $12.92
                    1146      CRTA1-40013200                     $1,793,419.26
                    1147      CRTA1-40013219                        $193.69
                    1148      CRTA1-40013235                         $12.87
                    1149      CRTA1-40013243                         $20.55
                    1150      CRTA1-40013251                       $12,992.77
                    1151      CRTA1-40013286                       $3,564.56
                    1152      CRTA1-40013308                         $10.00
                    1153      CRTA1-40013316                      $197,355.55
                    1154      CRTA1-40013324                      $261,099.85
                    1155      CRTA1-40013332                         $89.16
                    1156      CRTA1-40013367                         $10.00
                    1157      CRTA1-40013375                     $3,185,038.65
                    1158      CRTA1-40013413                     $10,006,171.93
                    1159      CRTA1-40013421                       $2,236.20
                    1160      CRTA1-40013448                        $100.09
                                                                                                   P. 29 of 46
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                               Claim ID                   Proposed Distribution Amount
                    1161      CRTA1-40013464                     $5,518,549.01
                    1162      CRTA1-40013472                       $33,068.42
                    1163      CRTA1-40013480                      $563,129.24
                    1164      CRTA1-40013499                         $20.28
                    1165      CRTA1-40013502                      $121,975.94
                    1166      CRTA1-40013529                         $41.61
                    1167      CRTA1-40013537                     $3,551,867.08
                    1168      CRTA1-40013545                      $144,350.92
                    1169      CRTA1-40013553                     $2,331,312.54
                    1170      CRTA1-40013570                       $22,756.56
                    1171      CRTA1-40013588                      $145,585.77
                    1172      CRTA1-40013600                       $7,381.59
                    1173      CRTA1-40013618                       $10,741.81
                    1174      CRTA1-40013626                     $4,603,569.23
                    1175      CRTA1-40013634                       $30,693.28
                    1176      CRTA1-40013650                       $54,876.27
                    1177      CRTA1-40013669                      $396,300.69
                    1178      CRTA1-40013677                      $243,084.80
                    1179      CRTA1-40013693                     $9,907,517.44
                    1180      CRTA1-40013707                       $60,971.35
                    1181      CRTA1-40013715                      $385,144.48
                    1182      CRTA1-40013723                         $15.90
                    1183      CRTA1-40013740                      $121,569.46
                    1184      CRTA1-40013766                         $10.00
                    1185      CRTA1-40013774                         $10.00
                    1186      CRTA1-40013782                       $1,940.50
                    1187      CRTA1-40013790                         $24.02
                    1188      CRTA1-40013804                         $23.24
                    1189      CRTA1-40013812                         $23.77
                    1190      CRTA1-40013820                         $25.26
                    1191      CRTA1-40013839                         $23.77
                    1192      CRTA1-40013847                         $40.37
                    1193      CRTA1-40013863                         $25.63
                    1194      CRTA1-40013880                         $10.00
                    1195      CRTA1-40013898                         $23.28
                    1196      CRTA1-40013901                         $26.75
                    1197      CRTA1-40013910                         $25.54
                    1198      CRTA1-40013928                         $26.43
                    1199      CRTA1-40013936                         $25.26
                    1200      CRTA1-40013944                         $24.90
                                                                                                   P. 30 of 46
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In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST
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Recommended Approved Claimants with Payment Amount Sorted by Claim ID

                               Claim ID                   Proposed Distribution Amount
                    1201      CRTA1-40013952                         $19.40
                    1202      CRTA1-40013960                         $16.84
                    1203      CRTA1-40013979                         $20.80
                    1204      CRTA1-40013995                        $198.15
                    1205      CRTA1-40014002                         $33.68
                    1206      CRTA1-40014010                        $123.84
                    1207      CRTA1-40014029                         $24.76
                    1208      CRTA1-40014037                         $24.76
                    1209      CRTA1-40014045                         $24.76
                    1210      CRTA1-40014053                         $40.12
                    1211      CRTA1-40014061                         $99.07
                    1212      CRTA1-40014070                         $35.91
                    1213      CRTA1-40014088                        $119.55
                    1214      CRTA1-40014096                       $5,996.72
                    1215      CRTA1-40014100                        $332.24
                    1216      CRTA1-40014126                         $14.85
                    1217      CRTA1-40014134                         $16.83
                    1218      CRTA1-40014142                         $10.00
                    1219      CRTA1-40014150                         $15.81
                    1220      CRTA1-40014169                         $28.73
                    1221      CRTA1-40014177                         $16.83
                    1222      CRTA1-40014185                        $109.97
                    1223      CRTA1-40014193                        $162.97
                    1224      CRTA1-40014207                         $60.93
                    1225      CRTA1-40014215                         $51.27
                    1226      CRTA1-40014223                         $55.97
                    1227      CRTA1-40014231                         $57.95
                    1228      CRTA1-40014240                       $17,210.51
                    1229      CRTA1-40014258                         $25.88
                    1230      CRTA1-40014266                         $27.51
                    1231      CRTA1-40014274                         $17.91
                    1232      CRTA1-40014282                         $48.34
                    1233      CRTA1-40014304                         $25.26
                    1234      CRTA1-40014312                         $24.57
                    1235      CRTA1-40014347                         $15.85
                    1236      CRTA1-40014355                         $10.79
                    1237      CRTA1-40014371                         $17.83
                    1238      CRTA1-40014401                         $10.00
                    1239      CRTA1-40014428                         $31.83
                    1240      CRTA1-40014436                         $56.47
                                                                                                   P. 31 of 46
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In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST
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Recommended Approved Claimants with Payment Amount Sorted by Claim ID

                               Claim ID                   Proposed Distribution Amount
                    1241      CRTA1-40014444                         $18.70
                    1242      CRTA1-40014452                         $84.93
                    1243      CRTA1-40014460                         $58.04
                    1244      CRTA1-40014479                         $89.98
                    1245      CRTA1-40014487                         $78.21
                    1246      CRTA1-40014495                        $490.50
                    1247      CRTA1-40014509                         $20.46
                    1248      CRTA1-40014517                         $18.57
                    1249      CRTA1-40014568                       $1,793.71
                    1250      CRTA1-40014622                         $10.00
                    1251      CRTA1-40014649                         $19.81
                    1252      CRTA1-40014657                         $19.19
                    1253      CRTA1-40014665                         $10.00
                    1254      CRTA1-40014673                         $63.90
                    1255      CRTA1-40014681                        $107.25
                    1256      CRTA1-40014690                        $100.68
                    1257      CRTA1-40014703                        $114.43
                    1258      CRTA1-40014711                         $14.86
                    1259      CRTA1-40014746                         $10.00
                    1260      CRTA1-40014754                         $46.69
                    1261      CRTA1-40014797                         $17.37
                    1262      CRTA1-40014800                         $37.00
                    1263      CRTA1-40014819                         $14.86
                    1264      CRTA1-40014827                         $34.67
                    1265      CRTA1-40014835                         $10.00
                    1266      CRTA1-40014843                         $10.00
                    1267      CRTA1-40014851                         $10.00
                    1268      CRTA1-40014878                         $10.00
                    1269      CRTA1-40014886                         $16.05
                    1270      CRTA1-40014894                         $10.00
                    1271      CRTA1-40014908                         $10.48
                    1272      CRTA1-40014916                         $14.22
                    1273      CRTA1-40014924                         $10.00
                    1274      CRTA1-40014932                         $11.78
                    1275      CRTA1-40014940                         $28.71
                    1276      CRTA1-40014959                         $10.00
                    1277      CRTA1-40014967                        $128.79
                    1278      CRTA1-40014975                         $59.44
                    1279      CRTA1-40014983                         $49.53
                    1280      CRTA1-40014991                         $35.66
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In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST
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                               Claim ID                   Proposed Distribution Amount
                    1281      CRTA1-40015009                         $23.77
                    1282      CRTA1-40015017                         $24.76
                    1283      CRTA1-40015025                         $39.63
                    1284      CRTA1-40015041                         $10.00
                    1285      CRTA1-40015050                         $10.00
                    1286      CRTA1-40015068                         $25.78
                    1287      CRTA1-40015076                         $25.75
                    1288      CRTA1-40015084                         $31.20
                    1289      CRTA1-40015092                         $10.00
                    1290      CRTA1-40015114                         $28.97
                    1291      CRTA1-40015122                        $337.35
                    1292      CRTA1-40015130                         $10.65
                    1293      CRTA1-40015149                         $17.83
                    1294      CRTA1-40015157                         $23.77
                    1295      CRTA1-40015165                         $12.72
                    1296      CRTA1-40015173                         $10.00
                    1297      CRTA1-40015181                         $26.99
                    1298      CRTA1-40015190                         $63.90
                    1299      CRTA1-40015203                         $30.17
                    1300      CRTA1-40015211                         $11.71
                    1301      CRTA1-40015220                         $17.83
                    1302      CRTA1-40015238                        $157.52
                    1303      CRTA1-40015246                         $90.75
                    1304      CRTA1-40015254                         $79.71
                    1305      CRTA1-40015262                         $56.91
                    1306      CRTA1-40015270                         $42.35
                    1307      CRTA1-40015289                         $14.85
                    1308      CRTA1-40015297                         $55.47
                    1309      CRTA1-40015300                         $10.00
                    1310      CRTA1-40015319                         $42.10
                    1311      CRTA1-40015327                         $28.73
                    1312      CRTA1-40015335                         $34.18
                    1313      CRTA1-40015343                         $26.75
                    1314      CRTA1-40015360                         $33.68
                    1315      CRTA1-40015386                         $10.00
                    1316      CRTA1-40015394                         $10.00
                    1317      CRTA1-40015408                         $12.58
                    1318      CRTA1-40015416                         $13.12
                    1319      CRTA1-40015424                         $12.55
                    1320      CRTA1-40015432                         $10.00
                                                                                                   P. 33 of 46
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In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST
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                               Claim ID                   Proposed Distribution Amount
                    1321      CRTA1-40015440                         $29.72
                    1322      CRTA1-40015467                         $10.00
                    1323      CRTA1-40015475                        $660.53
                    1324      CRTA1-40015483                         $32.18
                    1325      CRTA1-40015564                        $309.04
                    1326      CRTA1-40015610                         $63.20
                    1327      CRTA1-40015629                        $191.21
                    1328      CRTA1-40015637                         $13.66
                    1329      CRTA1-40015645                        $389.36
                    1330      CRTA1-40015653                        $123.84
                    1331      CRTA1-40015718                         $10.00
                    1332      CRTA1-40015726                         $10.00
                    1333      CRTA1-40015734                         $10.00
                    1334      CRTA1-40157373                         $17.80
                    1335      CRTA1-40157381                         $34.67
                    1336      CRTA1-40157390                        $166.42
                    1337      CRTA1-40157438                         $33.83
                    1338      CRTA1-40157462                         $22.04
                    1339      CRTA1-40157470                         $29.22
                    1340      CRTA1-40157489                         $80.22
                    1341      CRTA1-40157497                         $17.33
                    1342      CRTA1-40157527                         $32.69
                    1343      CRTA1-40157543                         $21.79
                    1344      CRTA1-40157551                         $16.84
                    1345      CRTA1-40157560                         $21.79
                    1346      CRTA1-40157578                         $28.85
                    1347      CRTA1-40157594                         $20.80
                    1348      CRTA1-40157608                         $13.80
                    1349      CRTA1-40157616                         $43.59
                    1350      CRTA1-40157624                         $10.00
                    1351      CRTA1-40157632                         $37.15
                    1352      CRTA1-40157640                        $371.53
                    1353      CRTA1-40157659                         $10.00
                    1354      CRTA1-40157667                         $16.09
                    1355      CRTA1-40157683                         $64.32
                    1356      CRTA1-40157691                         $82.67
                    1357      CRTA1-40157713                         $15.60
                    1358      CRTA1-40157721                         $34.67
                    1359      CRTA1-40157730                         $16.92
                    1360      CRTA1-40157748                         $54.45
                                                                                                   P. 34 of 46
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Recommended Approved Claimants with Payment Amount Sorted by Claim ID

                               Claim ID                   Proposed Distribution Amount
                    1361      CRTA1-40157756                         $14.86
                    1362      CRTA1-40157764                         $96.44
                    1363      CRTA1-40157780                         $10.00
                    1364      CRTA1-40157799                        $102.83
                    1365      CRTA1-40157829                         $34.67
                    1366      CRTA1-40157837                         $14.79
                    1367      CRTA1-40157845                         $43.34
                    1368      CRTA1-40157853                         $21.92
                    1369      CRTA1-40157861                         $28.97
                    1370      CRTA1-40157870                        $157.97
                    1371      CRTA1-40157896                         $11.40
                    1372      CRTA1-40157900                         $30.71
                    1373      CRTA1-40157934                         $14.36
                    1374      CRTA1-40157942                         $30.91
                    1375      CRTA1-40157950                        $158.71
                    1376      CRTA1-40157969                         $10.00
                    1377      CRTA1-40157977                         $32.18
                    1378      CRTA1-40157985                         $29.97
                    1379      CRTA1-40158000                         $71.27
                    1380      CRTA1-40158027                         $14.86
                    1381      CRTA1-40158035                         $43.29
                    1382      CRTA1-40158051                        $118.89
                    1383      CRTA1-40158060                        $173.19
                    1384      CRTA1-40158078                        $155.18
                    1385      CRTA1-40158094                         $20.80
                    1386      CRTA1-40158108                         $21.17
                    1387      CRTA1-40158124                         $97.09
                    1388      CRTA1-40158132                         $26.62
                    1389      CRTA1-40158159                         $42.60
                    1390      CRTA1-40158175                         $54.98
                    1391      CRTA1-40158183                         $10.00
                    1392      CRTA1-40158191                         $15.91
                    1393      CRTA1-40158205                       $1,213.67
                    1394      CRTA1-40158264                         $21.79
                    1395      CRTA1-40158280                         $17.93
                    1396      CRTA1-40158299                         $50.48
                    1397      CRTA1-40158302                         $13.37
                    1398      CRTA1-40158329                         $10.00
                    1399      CRTA1-40158337                         $10.00
                    1400      CRTA1-40158361                         $12.97
                                                                                                   P. 35 of 46
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Recommended Approved Claimants with Payment Amount Sorted by Claim ID

                               Claim ID                   Proposed Distribution Amount
                    1401      CRTA1-40158396                         $47.75
                    1402      CRTA1-40158400                         $52.01
                    1403      CRTA1-40158418                         $20.35
                    1404      CRTA1-40158426                         $10.00
                    1405      CRTA1-40158434                         $11.88
                    1406      CRTA1-40158442                         $10.00
                    1407      CRTA1-40158450                         $39.63
                    1408      CRTA1-40158469                         $29.72
                    1409      CRTA1-40158477                         $10.00
                    1410      CRTA1-40158493                         $10.00
                    1411      CRTA1-40158515                        $111.45
                    1412      CRTA1-40158523                         $19.31
                    1413      CRTA1-40158531                         $15.07
                    1414      CRTA1-40158540                         $35.93
                    1415      CRTA1-40158558                         $65.85
                    1416      CRTA1-40158574                         $10.00
                    1417      CRTA1-40158582                         $20.06
                    1418      CRTA1-40158590                         $25.26
                    1419      CRTA1-40158604                         $22.78
                    1420      CRTA1-40158612                         $25.75
                    1421      CRTA1-40158620                         $68.36
                    1422      CRTA1-40158639                         $19.31
                    1423      CRTA1-40158647                         $17.33
                    1424      CRTA1-40158655                         $29.72
                    1425      CRTA1-40158680                         $31.70
                    1426      CRTA1-40158710                         $28.73
                    1427      CRTA1-40158728                         $10.00
                    1428      CRTA1-40158744                         $20.80
                    1429      CRTA1-40158752                         $26.74
                    1430      CRTA1-40158760                         $10.00
                    1431      CRTA1-40158779                         $10.00
                    1432      CRTA1-40158809                         $20.31
                    1433      CRTA1-40158817                         $45.04
                    1434      CRTA1-40158833                         $35.34
                    1435      CRTA1-40158850                        $156.12
                    1436      CRTA1-40158876                         $23.50
                    1437      CRTA1-40158906                         $52.01
                    1438      CRTA1-40158922                         $10.00
                    1439      CRTA1-40158957                         $24.23
                    1440      CRTA1-40158973                         $11.39
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Recommended Approved Claimants with Payment Amount Sorted by Claim ID

                               Claim ID                   Proposed Distribution Amount
                    1441      CRTA1-40158981                         $28.97
                    1442      CRTA1-40158990                        $438.83
                    1443      CRTA1-40159007                         $10.00
                    1444      CRTA1-40159015                         $11.88
                    1445      CRTA1-40159023                        $445.83
                    1446      CRTA1-40159040                        $129.29
                    1447      CRTA1-40159104                         $15.85
                    1448      CRTA1-40159112                         $15.85
                    1449      CRTA1-40159147                         $10.00
                    1450      CRTA1-40159163                        $178.33
                    1451      CRTA1-40159180                        $106.01
                    1452      CRTA1-40159198                         $16.34
                    1453      CRTA1-40159201                         $12.38
                    1454      CRTA1-40159210                         $27.29
                    1455      CRTA1-40159228                        $230.90
                    1456      CRTA1-40159244                         $98.51
                    1457      CRTA1-40159279                         $29.30
                    1458      CRTA1-40159309                        $710.30
                    1459      CRTA1-40159317                         $42.10
                    1460      CRTA1-40159341                         $15.98
                    1461      CRTA1-40159350                         $60.78
                    1462      CRTA1-40159368                         $32.19
                    1463      CRTA1-40159376                         $36.87
                    1464      CRTA1-40159384                         $20.97
                    1465      CRTA1-40159392                        $196.16
                    1466      CRTA1-40159465                         $16.58
                    1467      CRTA1-40159481                         $38.39
                    1468      CRTA1-40159503                        $108.38
                    1469      CRTA1-40159511                         $83.32
                    1470      CRTA1-40159520                         $55.68
                    1471      CRTA1-40159546                         $14.27
                    1472      CRTA1-40159562                         $83.47
                    1473      CRTA1-40159570                         $74.60
                    1474      CRTA1-40159619                        $223.16
                    1475      CRTA1-40159643                         $37.46
                    1476      CRTA1-40159651                         $62.76
                    1477      CRTA1-40159660                        $183.73
                    1478      CRTA1-40159694                        $147.62
                    1479      CRTA1-40159708                         $17.83
                    1480      CRTA1-40159791                         $10.00
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Recommended Approved Claimants with Payment Amount Sorted by Claim ID

                               Claim ID                   Proposed Distribution Amount
                    1481      CRTA1-40159805                         $94.12
                    1482      CRTA1-40159864                         $15.47
                    1483      CRTA1-40159872                         $30.26
                    1484      CRTA1-40159902                         $10.00
                    1485      CRTA1-40159910                         $36.39
                    1486      CRTA1-40159961                       $1,015.20
                    1487      CRTA1-40159970                         $10.00
                    1488      CRTA1-40160005                         $29.66
                    1489      CRTA1-40160013                         $22.73
                    1490      CRTA1-40160056                         $28.28
                    1491      CRTA1-40160064                         $21.51
                    1492      CRTA1-40160072                        $699.90
                    1493      CRTA1-40160080                         $10.00
                    1494      CRTA1-40160137                         $26.88
                    1495      CRTA1-40160153                        $119.63
                    1496      CRTA1-40160188                         $31.69
                    1497      CRTA1-40160196                        $574.63
                    1498      CRTA1-40160200                         $38.96
                    1499      CRTA1-40160358                        $114.12
                    1500      CRTA1-40160390                        $418.59
                    1501      CRTA1-40160404                         $10.38
                    1502      CRTA1-40160439                         $57.91
                    1503      CRTA1-40160480                         $26.51
                    1504      CRTA1-40160528                        $108.98
                    1505      CRTA1-40160536                        $133.75
                    1506      CRTA1-40160579                         $79.26
                    1507      CRTA1-40160587                        $101.55
                    1508      CRTA1-40160668                         $24.66
                    1509      CRTA1-40160676                         $18.57
                    1510      CRTA1-40160706                         $82.08
                    1511      CRTA1-40160714                         $58.57
                    1512      CRTA1-40160722                         $86.42
                    1513      CRTA1-40160749                         $97.81
                    1514      CRTA1-40160757                         $69.33
                    1515      CRTA1-40160765                       $3,950.19
                    1516      CRTA1-40160773                         $17.88
                    1517      CRTA1-40160846                         $28.23
                    1518      CRTA1-40160854                        $123.84
                    1519      CRTA1-40160889                        $113.93
                    1520      CRTA1-40161036                        $188.24
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                               Claim ID                   Proposed Distribution Amount
                    1521      CRTA1-40161095                        $158.52
                    1522      CRTA1-40161249                         $29.72
                    1523      CRTA1-40161257                         $48.54
                    1524      CRTA1-40161265                         $50.03
                    1525      CRTA1-40161273                         $60.43
                    1526      CRTA1-40161281                       $1,415.58
                    1527      CRTA1-40161290                         $40.65
                    1528      CRTA1-40161303                         $75.79
                    1529      CRTA1-40161311                         $97.09
                    1530      CRTA1-40161320                         $27.74
                    1531      CRTA1-40161338                        $226.88
                    1532      CRTA1-40161354                         $26.50
                    1533      CRTA1-40161362                        $173.19
                    1534      CRTA1-40161370                        $139.94
                    1535      CRTA1-40161400                        $109.97
                    1536      CRTA1-40161443                         $13.87
                    1537      CRTA1-40161451                        $206.07
                    1538      CRTA1-40161460                        $178.33
                    1539      CRTA1-40161478                        $188.24
                    1540      CRTA1-40161494                        $172.88
                    1541      CRTA1-40161532                         $35.66
                    1542      CRTA1-40161540                         $51.50
                    1543      CRTA1-40161559                      $176,572.09
                    1544      CRTA1-40161567                        $107.00
                    1545      CRTA1-40161575                         $47.30
                    1546      CRTA1-40161583                         $14.86
                    1547      CRTA1-40161591                        $366.57
                    1548      CRTA1-40161605                         $20.21
                    1549      CRTA1-40161613                         $84.70
                    1550      CRTA1-40161621                         $37.35
                    1551      CRTA1-40161630                         $44.08
                    1552      CRTA1-40161648                         $40.12
                    1553      CRTA1-40161656                        $135.99
                    1554      CRTA1-40161672                         $29.02
                    1555      CRTA1-40161680                         $44.58
                    1556      CRTA1-40161699                         $13.87
                    1557      CRTA1-40161702                         $17.83
                    1558      CRTA1-40161710                         $14.84
                    1559      CRTA1-40161729                         $75.78
                    1560      CRTA1-40161737                         $73.31
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                               Claim ID                   Proposed Distribution Amount
                    1561      CRTA1-40161745                        $126.81
                    1562      CRTA1-40161761                         $82.72
                    1563      CRTA1-40161770                         $10.00
                    1564      CRTA1-40161788                         $13.59
                    1565      CRTA1-40161796                         $10.00
                    1566      CRTA1-40162261                         $10.00
                    1567      CRTA1-40162270                         $31.44
                    1568      CRTA1-40162296                         $60.88
                    1569      CRTA1-40162300                         $63.40
                    1570      CRTA1-40162318                        $141.18
                    1571      CRTA1-40162326                        $145.14
                    1572      CRTA1-40162334                        $158.02
                    1573      CRTA1-40162342                        $212.51
                    1574      CRTA1-40162350                         $23.80
                    1575      CRTA1-40162369                         $12.79
                    1576      CRTA1-40162377                         $14.13
                    1577      CRTA1-40162393                        $194.68
                    1578      CRTA1-40162407                        $223.34
                    1579      CRTA1-40162415                         $17.68
                    1580      CRTA1-40162431                         $90.15
                    1581      CRTA1-40162440                        $130.28
                    1582      CRTA1-40162458                        $346.76
                    1583      CRTA1-40162482                        $602.89
                    1584      CRTA1-40162504                        $173.48
                    1585      CRTA1-40162520                         $10.00
                    1586      CRTA1-40162547                         $39.63
                    1587      CRTA1-40162563                         $10.24
                    1588      CRTA1-40162598                        $668.75
                    1589      CRTA1-40162610                       $5,121.77
                    1590      CRTA1-40162628                         $13.87
                    1591      CRTA1-40162636                        $413.20
                    1592      CRTA1-40162644                       $1,070.01
                    1593      CRTA1-40162652                         $22.29
                    1594      CRTA1-40162679                         $76.86
                    1595      CRTA1-40162717                         $42.28
                    1596      CRTA1-40162725                         $44.58
                    1597      CRTA1-40162733                        $158.52
                    1598      CRTA1-40162741                        $217.96
                    1599      CRTA1-40162750                        $388.95
                    1600      CRTA1-40162768                        $574.63
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In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST
Direct Purchaser Settlements
Recommended Approved Claimants with Payment Amount Sorted by Claim ID

                               Claim ID                   Proposed Distribution Amount
                    1601      CRTA1-40162784                        $198.15
                    1602      CRTA1-40162857                         $28.03
                    1603      CRTA1-40162865                        $676.18
                    1604      CRTA1-40162873                        $110.29
                    1605      CRTA1-40162881                         $43.34
                    1606      CRTA1-40162903                         $11.88
                    1607      CRTA1-40162911                         $10.89
                    1608      CRTA1-40162938                         $10.00
                    1609      CRTA1-40162946                         $35.17
                    1610      CRTA1-40162970                         $34.24
                    1611      CRTA1-40162989                         $10.00
                    1612      CRTA1-40162997                        $346.76
                    1613      CRTA1-40163004                         $45.57
                    1614      CRTA1-40163012                         $10.74
                    1615      CRTA1-40163020                         $27.23
                    1616      CRTA1-40163039                         $49.53
                    1617      CRTA1-40163047                         $26.50
                    1618      CRTA1-40163055                         $59.94
                    1619      CRTA1-40163098                         $14.83
                    1620      CRTA1-40163101                         $17.83
                    1621      CRTA1-40163128                        $819.84
                    1622      CRTA1-40163136                         $38.13
                    1623      CRTA1-40163144                         $55.48
                    1624      CRTA1-40163152                         $39.66
                    1625      CRTA1-40163160                         $10.00
                    1626      CRTA1-40163179                         $41.29
                    1627      CRTA1-40163187                         $53.10
                    1628      CRTA1-40163195                         $14.76
                    1629      CRTA1-40163217                         $44.08
                    1630      CRTA1-40163225                        $579.58
                    1631      CRTA1-40163268                         $10.40
                    1632      CRTA1-40163276                         $43.23
                    1633      CRTA1-40163284                         $18.82
                    1634      CRTA1-40163292                         $26.37
                    1635      CRTA1-40163446                         $19.03
                    1636      CRTA1-40163454                         $82.23
                    1637      CRTA1-40163462                        $259.70
                    1638      CRTA1-40163470                         $10.00
                    1639      CRTA1-40163489                       $1,486.12
                    1640      CRTA1-40163497                         $62.85
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In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST
Direct Purchaser Settlements
Recommended Approved Claimants with Payment Amount Sorted by Claim ID

                               Claim ID                   Proposed Distribution Amount
                    1641      CRTA1-40163500                        $326.94
                    1642      CRTA1-40163527                         $10.00
                    1643      CRTA1-40163535                         $16.84
                    1644      CRTA1-40163543                         $88.26
                    1645      CRTA1-40163551                         $88.17
                    1646      CRTA1-40163578                         $21.79
                    1647      CRTA1-40163586                         $16.84
                    1648      CRTA1-40163594                         $14.86
                    1649      CRTA1-40163608                         $10.00
                    1650      CRTA1-40163632                         $13.87
                    1651      CRTA1-40163691                         $88.17
                    1652      CRTA1-40163705                         $88.17
                    1653      CRTA1-40163721                        $183.28
                    1654      CRTA1-40163730                         $41.61
                    1655      CRTA1-40163756                         $33.64
                    1656      CRTA1-40163764                         $98.81
                    1657      CRTA1-40163772                         $77.37
                    1658      CRTA1-40163780                         $10.00
                    1659      CRTA1-40163799                         $81.09
                    1660      CRTA1-40163802                         $39.38
                    1661      CRTA1-40163810                         $34.77
                    1662      CRTA1-40163829                       $10,227.12
                    1663      CRTA1-40163837                         $10.00
                    1664      CRTA1-40163853                         $10.00
                    1665      CRTA1-40163861                         $10.00
                    1666      CRTA1-40163870                         $16.34
                    1667      CRTA1-40163888                         $18.20
                    1668      CRTA1-40163896                         $10.00
                    1669      CRTA1-40163900                         $10.00
                    1670      CRTA1-40163918                         $65.42
                    1671      CRTA1-40163926                        $166.92
                    1672      CRTA1-40163934                         $11.88
                    1673      CRTA1-40163942                         $17.83
                    1674      CRTA1-40163950                         $18.08
                    1675      CRTA1-40163993                         $35.66
                    1676      CRTA1-40164000                         $39.63
                    1677      CRTA1-40164027                         $19.78
                    1678      CRTA1-40164035                         $55.19
                    1679      CRTA1-40164043                         $10.00
                    1680      CRTA1-40164051                         $57.01
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In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST
Direct Purchaser Settlements
Recommended Approved Claimants with Payment Amount Sorted by Claim ID

                               Claim ID                   Proposed Distribution Amount
                    1681      CRTA1-40164060                         $10.00
                    1682      CRTA1-40164078                         $10.00
                    1683      CRTA1-40164086                         $10.00
                    1684      CRTA1-40164094                         $27.64
                    1685      CRTA1-40164108                         $33.68
                    1686      CRTA1-70000018                       $2,256.30
                    1687      CRTA1-70000026                       $3,175.24
                    1688      CRTA1-70000034                         $10.00
                    1689      CRTA1-70000042                      $323,695.34
                    1690      CRTA1-70000050                         $97.58
                    1691      CRTA1-70000115                         $36.90
                    1692      CRTA1-70000123                         $11.88
                    1693      CRTA1-70000131                         $49.28
                    1694      CRTA1-70000140                       $33,076.13
                    1695      CRTA1-70000158                      $202,432.97
                    1696      CRTA1-70000166                         $57.83
                    1697      CRTA1-70000174                       $1,208.71
                    1698      CRTA1-70000182                       $1,254.51
                    1699      CRTA1-70000190                       $2,311.84
                    1700      CRTA1-70000204                         $10.00
                    1701      CRTA1-70000220                         $11.88
                    1702      CRTA1-70000239                        $101.47
                    1703      CRTA1-70000247                       $18,222.80
                    1704      CRTA1-70000255                       $1,454.80
                    1705      CRTA1-70000263                      $309,901.97
                    1706      CRTA1-70000271                      $978,898.47
                    1707      CRTA1-70000280                       $5,536.15
                    1708      CRTA1-70000581                       $77,401.88
                    1709      CRTA1-70000611                     $10,050,220.70
                    1710      CRTA1-70000662                      $467,435.79
                    1711      CRTA1-70001588                       $1,641.67
                    1712      CRTA1-70001731                        $466.46
                    1713      CRTA1-70004722                      $180,349.00
                    1714      CRTA1-70004730                      $107,957.24
                    1715      CRTA1-70004978                      $227,325.31
                    1716      CRTA1-70005370                     $1,733,815.55
                    1717      CRTA1-70005389                        $685.55
                    1718      CRTA1-70005648                       $9,907.51
                    1719      CRTA1-70005915                      $357,137.27
                    1720      CRTA1-70005923                         $87.07
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In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST
Direct Purchaser Settlements
Recommended Approved Claimants with Payment Amount Sorted by Claim ID

                               Claim ID                   Proposed Distribution Amount
                    1721      CRTA1-70005931                      $450,986.51
                    1722      CRTA1-70005982                     $1,597,633.57
                    1723      CRTA1-70005990                     $4,058,375.68
                    1724      CRTA1-70006008                       $64,114.05
                    1725      CRTA1-70006016                      $637,714.32
                    1726      CRTA1-70006024                       $9,907.51
                    1727      CRTA1-70006040                       $58,648.94
                    1728      CRTA1-70006059                        $395.08
                    1729      CRTA1-70006067                      $136,596.97
                    1730      CRTA1-70006075                     $3,464,983.55
                    1731      CRTA1-70008329                      $297,225.52
                    1732      CRTA1-70008485                      $207,939.80
                    1733      CRTA1-70008523                       $1,271.49
                    1734      CRTA1-70008558                         $48.47
                    1735      CRTA1-70010030                       $10,139.61
                    1736      CRTA1-70010307                         $10.00
                    1737      CRTA1-70010315                        $534.47
                    1738      CRTA1-70010323                         $33.23
                    1739      CRTA1-70010331                        $618.68
                    1740      CRTA1-70010340                         $81.14
                    1741      CRTA1-70010358                     $3,467,631.10
                    1742      CRTA1-70010382                      $365,645.13
                    1743      CRTA1-70010412                       $2,507.36
                    1744      CRTA1-70010439                      $683,618.70
                    1745      CRTA1-70010455                      $134,964.82
                    1746      CRTA1-70010463                       $78,870.21
                    1747      CRTA1-70010480                       $12,779.76
                    1748      CRTA1-70010510                       $5,976.42
                    1749      CRTA1-70010528                      $108,062.15
                    1750      CRTA1-70010552                      $237,780.41
                    1751      CRTA1-70010560                       $47,656.81
                    1752      CRTA1-70010579                        $214.01
                    1753      CRTA1-70010587                        $758.39
                    1754      CRTA1-70010609                      $636,157.03
                    1755      CRTA1-70010625                      $891,247.30
                    1756      CRTA1-70010641                      $149,455.46
                    1757      CRTA1-70010706                       $79,592.84
                    1758      CRTA1-70010722                     $4,342,698.35
                    1759      CRTA1-70010730                       $1,030.45
                    1760      CRTA1-70010803                      $136,694.19
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In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST
Direct Purchaser Settlements
Recommended Approved Claimants with Payment Amount Sorted by Claim ID

                               Claim ID                   Proposed Distribution Amount
                    1761      CRTA1-70010862                       $14,357.62
                    1762      CRTA1-70010897                       $4,253.90
                    1763      CRTA1-70010900                       $10,306.13
                    1764      CRTA1-70010919                        $629.12
                    1765      CRTA1-70010927                       $88,528.82
                    1766      CRTA1-70010951                       $2,536.98
                    1767      CRTA1-70011010                       $17,122.94
                    1768      CRTA1-70011907                      $173,860.44
                    1769      CRTA1-70012946                       $27,718.93
                    1770      CRTA1-70013080                        $625.40
                    1771      CRTA1-70013110                      $170,938.61
                    1772      CRTA1-70013136                     $1,946,396.29
                    1773      CRTA1-70013152                        $796.28
                    1774      CRTA1-70013160                       $58,180.77
                    1775      CRTA1-70013179                       $6,663.59
                    1776      CRTA1-70013187                      $284,957.53
                    1777      CRTA1-70013195                      $259,713.04
                    1778      CRTA1-70013217                         $28.15
                    1779      CRTA1-70013225                         $71.47
                    1780      CRTA1-70013233                         $34.80
                    1781      CRTA1-90000030                       $1,301.84
                    1782      CRTA1-90000269                         $13.87
                    1783      CRTA1-90000285                         $98.57
                    1784      CRTA1-90000315                         $10.00
                    1785      CRTA1-90000331                         $10.00
                    1786      CRTA1-90000366                        $132.81
                    1787      CRTA1-90000439                         $37.64
                    1788      CRTA1-90000617                        $100.63
                    1789      CRTA1-90000633                         $10.00
                    1790      CRTA1-90000650                         $17.83
                    1791      CRTA1-90000684                         $33.53
                    1792      CRTA1-90000722                         $10.00
                    1793      CRTA1-90000790                        $431.22
                    1794      CRTA1-90000803                         $10.00
                    1795      CRTA1-90000811                        $282.36
                    1796      CRTA1-90000820                         $10.00
                    1797      CRTA1-90000838                        $292.27
                    1798      CRTA1-90000846                         $94.74
                    1799      CRTA1-90000854                         $62.91
                    1800      CRTA1-90000862                       $1,137.63
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In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST
Direct Purchaser Settlements
Recommended Approved Claimants with Payment Amount Sorted by Claim ID

                               Claim ID                   Proposed Distribution Amount
                    1801      CRTA1-90000870                         $36.16
                    1802      CRTA1-90000889                         $13.88
                    1803      CRTA1-90000943                        $326.94
                    1804      CRTA1-90000986                       $1,055.15
                    1805      CRTA1-90001010                         $15.35
                    1806      CRTA1-90001079                         $49.53
                    1807      CRTA1-90001109                         $13.14
                    1808      CRTA1-90001117                         $45.07
                    1809      CRTA1-90001125                         $95.78
                    1810      CRTA1-90001141                        $267.50
                    1811      CRTA1-90001150                         $10.00
                    1812      CRTA1-90001168                         $10.00
                    1813      CRTA1-90001184                         $10.00
                    1814      CRTA1-90001192                         $75.26
                    1815      CRTA1-90001206                         $31.70
                    1816      CRTA1-90001214                         $26.37
                    1817      CRTA1-90001230                         $87.07
                    1818      CRTA1-90001249                         $16.70
                    1819      CRTA1-90001265                         $12.87
                    1820      CRTA1-90001281                         $80.49
                    1821      CRTA1-90001290                        $123.84
                    1822      CRTA1-90001338                        $136.22
                    1823      CRTA1-90001354                         $10.00
                    1824      CRTA1-90001362                         $40.62
                    1825      CRTA1-90001400                        $317.04
                    1826      CRTA1-90001419                         $10.00
                    1827      CRTA1-90001427                         $30.96
                    1828      CRTA1-90001435                         $28.97
                    1829      CRTA1-90001451                         $10.00
                    1830      CRTA1-90001460                        $832.52
                    1831      CRTA1-90001478                        $147.78
                    1832      CRTA1-90004760                      $198,150.34
                    1833      CRTA1-90004779                       $5,212.96
                    1834      CRTA1-90004787                       $24,430.71

                                             Total               $142,318,494.27




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